         Case: 3:20-cv-00323-jdp Document #: 27 Filed: 07/27/20 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN



 Modified Atmosphere Enterprises LLC,

                 Plaintiff,                              Civil Action No.: 3:20-CV-00323-JDP
 v.

 Amcor plc and Bemis Company, Inc.,
                                                                 Jury Trial Demanded
                 Defendants.


                  NOTICE OF SETTLEMENT AND REQUEST FOR STAY

       Plaintiff Modified Atmosphere Enterprises LLC ("MAE" or "Plaintiff") respectfully

provides Notice to the Court that the parties have reached a settlement in principal. MAE

respectfully requests that the Court stay all proceedings for thirty (30) days, within which time the

parties will file a motion to dismiss this action with prejudice or provide a status report to the Court

regarding settlement.

Dated: July 27, 2020                             Respectfully submitted,

                                                 By: /s/ Matthew C. Holohan
                                                 Barry J. Blonien
                                                 Boardman & Clark LLP
                                                 1 S. Pinckney Street, Suite 410
                                                 PO Box 927
                                                 Madison, WI 53701-0927
                                                 Telephone: 608-257-9521
                                                 bblonien@boardmanclark.com




                                                   1
Case: 3:20-cv-00323-jdp Document #: 27 Filed: 07/27/20 Page 2 of 2



                              Robert R. Brunelli
                                      rbrunelli@sheridanross.com
                              Scott R. Bialecki
                                      sbialecki@sheridanross.com
                              Matthew C. Holohan (Admitted pro hac vice)
                                      mholohan@sheridanross.com
                              Paul Sung Cha
                                      pscha@sheridanross.com
                              SHERIDAN ROSS P.C.
                              1560 Broadway, Suite 1200
                              Denver, CO 80202
                              Telephone:     303-863-9700
                              Facsimile:     303-863-0223
                              E-mail:        litigation@sheridanross.com

                              BRADFORD, LTD
                              Aaron P. Bradford (Admitted pro hac vice)
                              Mishele Kieffer (Admitted pro hac vice)
                              2701 Lawrence Street, Suite 104
                              Denver, CO 80205
                              (303) 325-5467
                              Aaron@apb-law.com
                              Mishele@apb-law.com

                              Attorneys for Plaintiff
                              Modified Atmosphere Enterprises LLC




                                2
